      Case 1:14-bk-10002                 Doc 65       Filed 01/08/19 Entered 01/08/19 14:16:48                             Desc Main
Fill in this information to identify the case:Document             Page 1 of 5
Debtor 1               MARY BETH RAY

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the   Southern District of Ohio

Case Number            14-10002




Official Form 410S1
Notice of Mortgage Payment Change                                                                                          12/15

If the debtor’s plan provides for payment of post-petition contractual installments on your claim secured by a security interest in
the debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File
this form as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule
3002.1.



                                                                                       Court Claim no. (If known): 3-1
 Name of Creditor: New Penn Financial LLC d/b/a Shellpoint Mortgage Servicing
                                                                                       Date of Payment change: 02/01/2019
                                                                                       Must be at least 21 days after
                                                                                       date of this notice.
  Last 4 digits of any number you use
  to identify the debtor’s account: 0362                                                New total payment:                 $ 890.32
                                                                                        Principal, interest and escrow, if any



Part 1:           Escrow Account Payment Adjustment
  1. Will there be a change in the debtor’s escrow account payment?
   No
   Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable non-bankruptcy law.
  Describe the basis for the change. If a statement is not attached, explain why:


    Current escrow payment: $ 313.92                                 New escrow payment: $ 372.74

Part 2:                Mortgage Payment Adjustment
 2. Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the
   debtor's variable-rate account?
 No
 Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable non-bankruptcy law. If a
   notice is not attached, explain why:
 Current interest rate: %                                                New interest rate: %

Current Principal and interest payment: $                               New Principal and interest payment: $


Part 3:               Other Payment Change
 3. Will there be a change in the debtor’s mortgage payment for a reason not listed above?
 No

 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan
 modification agreement. (Court approval may be required before the payment change can take effect.)
  Reason for change:                                                                                                                  _
 Current Mortgage payment: $                                             New Mortgage payment: $
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                                                                Document     Page 2 of 5
Debtor 1         MARY BETH RAY                                                          Case number (if known) 14-10002
                        First Name         Middle Name           Last Name




 Part 4:                Sign here

  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

          I am the creditor.

          I am the creditor’s authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my
  knowledge, information, and reasonable belief.

  X /s/ Ashish Rawat                                                                                       Date: 01/08/2019
       Signature




  Print: Ashish Rawat                                                                                      Title: Claims Processor
           First Name    Middle Name   Last Name




  Company           AIS Portfolio Services, LP                                           _




  Address           P.O. Box 201347
                         Number               Street

                    Arlington                TX                76006
                    City                           State                     ZIP Code


  Contact Phone          ((888) 455-6662                   )                                       Email
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                                     UNITED STATES BANKRUPTCY COURT
                                        SOUTHERN DISTRICT OF OHIO
                                            CINCINNATI DIVISION

Case       MARY BETH RAY                                )     Case No.     14-10002
Name:                                                   )     Judge:       Jeffery P. Hopkins
                                                        )     Chapter:     13
             Debtor(s).                                 )


                                         CERTIFICATE OF SERVICE

PLEASE BE ADVISED that on 01/08/2019 (the “Notice Date”), pursuant to Federal Rule of Bankruptcy
Procedure 3002.1(b)(the “Bankruptcy Rules”), New Penn Financial LLC d/b/a Shellpoint Mortgage Servicing filed
a Notice of Change of Mortgage Payment (the “Notice”). The Notice was filed due to a post-bankruptcy change of
payment on the Debtor’(s) principal place of residence. A copy of the Notice is attached hereto.

The filing of this Notice, via the Court’s Electronic Filing system, constitutes service upon the Chapter 13
Trustee and counsel for the Debtor(s), pursuant to Bankruptcy Rule 3002.1 and any and all applicable
Bankruptcy Rules.

I hereby certify that on 01/08/2019 a copy of the Notice was served upon the Debtor(s) on the Notice Date,
at the address listed below, by First Class U.S. Mail, postage prepaid.

Debtor:
            MARY BETH RAY
            6557 VISITATION DR.,
            CINCINNATI, OH 45248


I hereby certify that on 01/08/2019 a copy of this Notice and all attachments on the following by
Electronic Notification via CM/ECF and/or other Electronic Notification:

Trustee:
           MARGARET A BURKS
           600 VINE STREET, SUITE 2200
           CINCINNATI, OH 45202

Debtor's counsel:
           ZINGARELLI LAW OFFICE LLC
           NICHOLAS A ZINGARELLI
           810 SYCAMORE STREET, THIRD FLOOR
           CINCINNATI, OH 45202
All Parties in Interest
All Parties requesting Notice

                                     By: /s/ Ashish Rawat
                                         Ashish Rawat, AIS Portfolio Services, LP.
                                         Authorized Agent for Shellpoint Mortgage Servicing
             Case 1:14-bk-10002                                 Doc   65 Mortgage
                                                                  Shellpoint    Filed   01/08/19 Entered 01/08/19 14:16:48
                                                                                    Servicing                          Final                                                      Desc Main
                                                                                Document
                                                                  55 Beattie Place             Page 4 of 5
                                                                     Suite 110
                                                                     Greenville, SC 29601
                                                                     For Inquiries: (800) 365-7107


                                                                                                                                     Analysis Date:                                         December 11, 2018
        RICHARD RAY                                                                                                                  Loan:                   0362
        6557 Visitation Dr                                                                                                           Property Address:
        Cincinnati OH 45248                                                                                                          6557 Visitation Dr
                                                                                                                                     Cincinnati, OH 45248




                                                                  Annual Escrow Account Disclosure Statement - Account History
      The following is an overview of your escrow account with Shellpoint Mortgage Servicing. It contains the history of escrow payments made on your
      behalf in the prior year, and a snapshot of the anticipated disbursements for the coming year. Any potential adjustments due to increases or
      decreases with your escrow items may affect your monthly escrow payment. If your escrow payment increases, your monthly payment will also
      increase. If the escrow payment decreases, your mortgage payment will decrease.

Payment Information              Contractual           Effective Feb 01, 2019          Prior Esc Pmt                  March 01, 2018          Escrow Balance Calculation

P & I Pmt:                           $517.58                          $517.58          P & I Pmt:                            $517.58          Due Date:                                            Oct 01, 2018
Escrow Pmt:                          $313.92                          $372.74          Escrow Pmt:                           $313.92          Escrow Balance:                                          $121.60
Other Funds Pmt:                       $0.00                            $0.00          Other Funds Pmt:                        $0.00          Anticipated Pmts to Escrow:                            $1,255.68
Asst. Pmt (-):                         $0.00                            $0.00          Asst. Pmt (-):                          $0.00          Anticipated Pmts from Escrow (-):                          $0.00
Reserve Acct Pmt:                      $0.00                            $0.00          Resrv Acct Pmt:                         $0.00

Total Payment:                       $831.50                          $890.32          Total Payment:                        $831.50          Anticipated Escrow Balance:                            $1,377.28


Shortage/Overage Information                                     Effective Feb 01, 2019           Cushion Calculation: Because Shellpoint Mortgage Servicing does not set your tax
                                                                                                  amounts or insurance premiums, your escrow balance contains a cushion of $688.50.
Upcoming Total Annual Bills                                                      $4,131.00
Required Cushion                                                                                  A cushion is an additional amount of funds held in your escrow in order to prevent the
                                                                                   $688.50
Required Starting Balance                                                        $1,719.14        balance from becoming overdrawn when an increase in the disbursement amount
Escrow Shortage                                                                   ($341.86)       occurs. Your lowest monthly balance should not be below $688.50 or 1/6 of the
Surplus                                                                               $0.00       anticipated payment from the account.



      This is a statement of actual activity in your escrow account from Feb 2018 to Jan 2019. Last year's anticipated activity (payments to and from your
      escrow account) is next to the actual activity.
                              Payments to Escrow                          Payments From Escrow                                                              Escrow Balance
          Date                Anticipated              Actual             Anticipated          Actual                     Description                       Required               Actual
                                                                                                                 Starting Balance                             $1,583.66            ($295.09)
        Feb 2018                     $313.92               $668.30            $1,269.74                        * County Tax                                    $627.84              $373.21
        Mar 2018                     $313.92               $334.15                                             *                                               $941.76              $707.36
        Mar 2018                                                                                       $184.31 * Hazard                                        $941.76              $523.05
        Mar 2018                                                                                        $87.33 * Hazard                                        $941.76              $435.72
        Apr 2018                     $313.92               $313.92                                                                                            $1,255.68             $749.64
        May 2018                     $313.92               $313.92                                                                                            $1,569.60           $1,063.56
        May 2018                                                                                     $1,304.40 * County Tax                                   $1,569.60            ($240.84)
        Jun 2018                     $313.92               $313.92            $1,199.25                        * County Tax                                    $684.27               $73.08
        Jul 2018                     $313.92               $313.92                                                                                             $998.19              $387.00
        Aug 2018                     $313.92                                                                   *                                              $1,312.11             $387.00
        Sep 2018                     $313.92               $627.84                                             *                                              $1,626.03           $1,014.84
        Oct 2018                     $313.92                                                                   *                                              $1,939.95           $1,014.84
        Oct 2018                                                                                     $1,521.08 * Hazard                                       $1,939.95            ($506.24)
        Nov 2018                     $313.92               $627.84            $1,298.06                        * Hazard                                        $955.81              $121.60
        Dec 2018                     $313.92                                                                   *                                              $1,269.73             $121.60
        Jan 2019                     $313.92                                                                   *                                              $1,583.65             $121.60
                                                                                                                 Anticipated Transactions                     $1,583.65             $121.60
        Dec 2018                                          $941.76 P                                                                                                               $1,063.36
        Jan 2019                                          $313.92 P                                                                                                               $1,377.28
                                   $3,767.04             $4,769.49            $3,767.05              $3,097.12
      An asterisk (*) indicates a difference from a previous estimate either in the date or the amount. If you want a further explanation, please call our toll-free number.
      P - The letter (P) beside an amount indicates that the payment or disbursement has not yet occurred but is estimated to occur as shown.
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                                                        Shellpoint    Filed      01/08/19 Entered 01/08/19 14:16:48
                                                                             Servicing                          Final                                                Desc Main
                                                        For Inquiries:Document
                                                                      (800) 365-7107    Page 5 of 5
                                                                                                                         Analysis Date:                                        December 11, 2018
                                                                                                                         Loan:                   0362

                                                  Annual Escrow Account Disclosure Statement - Projections for Coming Year
 This is an estimate of activity in your escrow account during the coming year based on payments anticipated to be made to and from your account.

      Date                     Anticipated Payments                                                                                                     Escrow Balance
                              To Escrow          From Escrow                   Description                                                    Anticipated                Required
                                                                               Starting Balance                                                  $1,377.28                  $1,719.14
   Feb 2019                         $344.25           $1,374.89                County Tax                                                         $346.64                    $688.50
   Mar 2019                         $344.25                                                                                                       $690.89                   $1,032.75
   Apr 2019                         $344.25                                                                                                      $1,035.14                  $1,377.00
   May 2019                         $344.25                                                                                                      $1,379.39                  $1,721.25
   Jun 2019                         $344.25           $1,304.40                County Tax                                                         $419.24                    $761.10
   Jul 2019                         $344.25                                                                                                       $763.49                   $1,105.35
   Aug 2019                         $344.25                                                                                                      $1,107.74                  $1,449.60
   Sep 2019                         $344.25                                                                                                      $1,451.99                  $1,793.85
   Oct 2019                         $344.25                                                                                                      $1,796.24                  $2,138.10
   Nov 2019                         $344.25           $1,451.71                Hazard                                                             $688.78                   $1,030.64
   Dec 2019                         $344.25                                                                                                      $1,033.03                  $1,374.89
   Jan 2020                         $344.25                                                                                                      $1,377.28                  $1,719.14
                                   $4,131.00          $4,131.00
 (Please keep this statement for comparison with the actual activity in your account at the end of the escrow accounting computation year.)

 Your ending balance from the last month of the account history (escrow balance anticipated) is $1,377.28. Your starting
 balance (escrow balance required) according to this analysis should be $1,719.14. This means you have a shortage of $341.86.
 This shortage may be collected from you over a period of 12 months or more unless the shortage is less than 1 month's
 deposit, in which case we have the additional option of requesting payment within 30 days. We have decided to collect it over 12 months.
 We anticipate the total of your coming year bills to be $4,131.00. We divide that amount by the number of payments expected during the coming year
 to obtain your escrow payment.
   New Escrow Payment Calculation                                                            Paying the shortage: If your shortage is paid in full, your new monthly payment will
                                                                                             be $861.83 (calculated by subtracting the Shortage Amount to the left and
   Unadjusted Escrow Payment                                                $344.25
   Surplus Reduction:                                                                        rounding, if applicable). Paying the shortage does not guarantee that your
                                                                               $0.00
   Shortage Installment:                                                     $28.49          payment will remain the same, as your tax or insurance bills may have changed.
   Rounding Adjustment Amount:                                               $0.00

   Escrow Payment:                                                         $372.74

TO THE EXTENT YOUR OBLIGATION HAS BEEN DISCHARGED, DISMISSED OR IS SUBJECT TO AN AUTOMATIC STAY OF BANKRUPTCY ORDER UNDER TITLE 11 OF THE UNITED STATES CODE, THIS
NOTICE IS FOR COMPLIANCE AND INFORMATION PURPOSES ONLY AND DOES NOT CONSTITUTE A DEMAND FOR PAYMENT OR ANY ATTEMPT TO COLLECT ANY SUCH OBLIGATION.




   Detach Here

                                                                                             Escrow Shortage Reply (This is not a bill)


   Shellpoint Mortgage Servicing                                                                  Loan Number:                                                       0362
   55 Beattie Place                                                                               Full Shortage Amount:                                          $341.86
   Suite 110
   Greenville, SC 29601
                                                                                                  Payment Amount:                         $
   (800) 365-7107
                                                                                                  Your escrow shortage has been spread over 12 months, resulting
                                                                                                  in an additional increase in your monthly payment in the amount
                                                                                                  of $28.49.


   Shellpoint Mortgage Servicing                                                                  IF YOU CHOOSE to pay your shortage in full, please visit
                                                                                                  http://www.shellpointmtg.com/ in order to expedite your payment.
   P.O. Box 740039
                                                                                                  You can also mail this coupon with your remittance of the full
   Cincinnati, OH 45274-0039                                                                      shortage amount to the address to the left
